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            EXHIBIT A
  REDACTED VERSION OF
 DOCUMENT SOUGHT TO BE
        SEALED
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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
    SENTIUS INTERNATIONAL, LLC,               )          Case No.: 5:13-cv-00825-PSG
                 Plaintiffs,                  )
                    vs.                       )
      MICROSOFT CORPORATION,                  )
                 Defendant.                   )
                                              )
                                              )
                                              )
                                              )
                                              )
                                              )
                                              )
                                              )
                                              )




                                INFRINGEMENT EXPERT REPORT
                                   DR. VIJAY K. MADISETTI




                               PURSUANT TO PROTECTIVE ORDER



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I.      INTRODUCTION

1.      I have been retained by Plaintiffs, Sentius Corporation (“Sentius”) and their counsel as an expert

in this litigation. I have been asked to opine if Microsoft Corporation (“Microsoft”) has infringed and

continues to infringe (literally, under the doctrine of equivalents, directly, and indirectly) claim 96 of U.S.

Patent No. RE 40,731 (the ‘731 patent), claims 62, 64, 70, 146, 148, 149, 154, 164 of U.S. Patent No. RE

43,633 (the ‘633 patent) and claims 1, 6, 10, 11, 16, 37, 41, and 44 of U.S. Patent No. 7,672,985 (the ‘985

patent) (collectively the “Asserted Claims”).

2.      Sentius has accused the following Microsoft products – Microsoft Word (2013 & 2010), Microsoft

Powerpoint (2013 & 2010), Microsoft Outlook, Microsoft OneNote, and Microsoft Publisher, with

support from Microsoft’s operating systems, (collectively the “Accused Products”) of infringing the

Asserted Claims of the ‘731 patent, the ‘633 patent and the ‘985 patent. I was asked to analyze the

accused Microsoft products to determine whether they infringe the Asserted Claims. As part of my

analysis, I have studied the patents-in-suit, their prosecution file histories, the Court’s claim construction

orders, and the Accused Products. The opinions set forth in this report are based on my personal

knowledge and professional judgment, and I am prepared to testify competently about them if called as a

witness during the trial in this matter.

3.      It is my opinion that Microsoft infringes the Asserted Claims directly and indirectly, and also

under the doctrine of equivalences. It is also my opinion that Microsoft’s customers and users of Accused

Products infringe the Asserted Claims.

II.     QUALIFICATIONS / PRIOR TESTIMONY

4.      My qualifications can be found in my Curriculum Vitae, which includes a complete list of my

publications, and is attached as Exhibit A. I am a Professor in Electrical and Computer Engineering at the

Georgia Institute of Technology ("Georgia Tech").           I have worked within the area of computer



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 [Ref 4]. S. Kahn, “An Overview of Three Relational Database Products”, IBM Systems Journal, Vol

 23, No. 2, 1984.

 [Ref 5]        W. Kim, Modern Database Systems (ACM Press, 1995).

 [Ref 6] S. Campbell and S. Chung, “Role of Database Sytems in the Management of Multimedia

 Information”, IEEE International Workshop on Multimedia Database Management Systems, 1995.

 [Ref 7] Patents in suit USRE43,633, USRE40,731 and US 7,672,985 and their prosecution histories

 [Ref 8] Patents assigned to Microsoft; US 5,649,222 and US 6,085,206 and their file histories

 [Ref 9]. [MS[MS -DOC]: DOC]: DOC]: Word (.doc) Binary File Format Word.

 [Ref 10]. [MS-ONE] OneNote File Format.

 [Ref 11]. [MS-PPT] PowerPoint (.ppt) Binary File Format

 [Ref 12]. [Article. Finding Approximate Matches in Large Lexicons. 25 Software-Practice and

 Experience 331. By Justin Zobel and Philip Dart.]

 [Ref 13].         [Office Open XML Part        3] - Bates Number - MS_SENTIUS374005 and

 MS_SENTIUS480673.

 [Ref 14] Testing and results of behavioral features of the Accused Products

 [Ref 15] The source code produced by Microsoft

 [Ref 16] Deposition testimony of Microsoft Witnesses (including Mr. Tristan Davis, Mr. Alexandre

 Mogilevsky; Mr. Anthony Krueger, Mr. Robert Little, Mr. Terrence Crowley)

      VI.      ACTS OF INFRINGEMENT

87.         I summarize my opinions on infringement by Microsoft and its customers/users as follows.

Microsoft infringes directly and indirectly, and also under the doctrine of equivalence.

A.          ‘731 and ‘633 Patents




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 Patent & Claim      Direct Infringement         Inducing Infringement           Contributory Infringement
 No.

 ‘731 patent,        By Microsoft by using       By Microsoft by making and      By Microsoft by selling the
 claim 96            the accused spell           selling the accused products    accused products with the
                     check, grammar check        in the United States and/or     accused features in the
 ‘633 patent,        and actions features in     importing the accused           United States and/or by
 claims 62, 64,      the accused products        products into the United        importing them into the
 70, 72, 76, 146,    in the United States.       States, by designing and        United States.
 148, 149, 151,                                  promoting such products and
 154, 156, 159,      By Customers/End-           by instructing customers/end-
 164                 users of the accused        users how to engage in their
                     products by using the       infringing use including by
 (all method         accused spell check,        providing documentation
 claims)             grammar check and           supporting and/or
                     actions features in the     encouraging use of the
                     accused products in         accused features.
                     the United States.




88.    I understand that “whoever without authority makes, uses, offers to sell, or sells any patented

invention, within the United States or imports into the United States any patented invention during the

term of the patent therefor, infringes the patent.” See 35 U.S.C. § 271(a). Since each of the patents-in-

suit in the first patent family issued: June 9, 2009 (’731 patent) and September 4, 2012 (‘633 patent),

Microsoft has and continues to practice the asserted method claims of the ‘731 and ‘633 patents by its use

of accused features (spell check, grammar check and actions) in the accused products. Under 35 U.S.C.

§271(a), whenever Microsoft uses the accused features (background spell check, grammar check and

actions) in the accused products in the United States it directly infringes the asserted ‘731 and ‘633

claims. For example, I understand that Microsoft employees use the accused products in the United States

for Microsoft’s own word processing needs. Additionally, I understand that Microsoft tests the accused

features        to        ensure           the       software            components        work          properly.

https://www.linkedin.com/jobs2/view/10229143. Through its own use and testing activities with regards

to the accused features, Microsoft uses the claimed methods in the United States.            Thus, each of these

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activities with respect to the accused products directly infringes the asserted ‘731 and ‘633 method claims,

and it is my opinion that Microsoft has thereby directly infringed these asserted claims.

89.    I understand that “whoever actively induces infringement of a patent shall be liable as an

infringer.” See 35 U.S.C. § 271(b). Since the patents-in-suit issued, Microsoft has also indirectly

infringed the asserted ‘731 and ‘633 claims through active inducement. Under 35 U.S.C. § 271(a),

whenever anyone uses the accused features in Microsoft’s accused products within the United States, such

person directly infringes the asserted ‘731 and ‘633 claims. Those entities using Microsoft’s accused

features in the accused products within the United States include Microsoft’s customers and the end-users

of Microsoft’s accused products in the United States. These entities directly infringe the ‘731 and ‘633

claims by using the accused features in the accused products in the United States. At least by the date the

complaint in this case was filed, Microsoft had knowledge that these acts of its customers/end-users

constitute infringement of the asserted ‘731 and ‘633 method claims. Therefore, Microsoft has induced

and continues to induce infringement of the asserted ‘731 and ‘633 claims by the accused products. It is

my opinion that Microsoft’s acts of making, using, selling, or offering to sell in the United States, or by

importing the accused products into the United States, constitute affirmative steps taken to encourage

infringement of the asserted ‘731 and ‘633 claims in the United States. For example, I understand that

Microsoft purposefully takes actions to induce infringement of the asserted ‘731 and ‘633 claims by

advertising and promoting the accused products in the United States, instructing how to engage in

infringing use, designing and manufacturing (or authorizing the manufacture of) infringing products, and

selling infringing products to customers who ultimately use the accused products in the United States.

Microsoft takes these actions to aid and encourage infringement with the knowledge and intent that the

accused products will ultimately be used in the United States to practice the ‘731 and ‘633 claims.

Microsoft also provides customer support to assist the use of the accused products, and Microsoft



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provides documentation supporting and encouraging the use of the accused features in the accused

products, including the use of various applications, such as Word, Outlook, Publisher, PowerPoint, and

OneNote.        See,   e.g.,    MS_SENTIUS009234;         MS_SENTIUS009239;          MS_SENTIUS009202;

MS_SENTIUS009207;              MS_SENTIUS009248;         MS_SENTIUS009256;           MS_SENTIUS009211;

MS_SENTIUS009242;              MS_SENTIUS009240;         MS_SENTIUS009222;           MS_SENTIUS009192;

MS_SENTIUS009239;              MS_SENTIUS009202;         MS_SENTIUS009211;           MS_SENTIUS009248;

MS_SENTIUS009242; MS_SENTIUS009222; MS_SENTIUS009240; see also Microsoft’s website. See

infra help documents provided as a result of searches on http://office.microsoft.com/en-us/support/”

Thus, it is my opinion that Microsoft has thereby actively induces the infringement of the asserted ‘731

and ‘633 claims.

90.    I understand that “whoever offers to sell or sells within the United States or imports into the

United States a component of a patented machine, manufacture, combination or composition, or a

material or apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in an infringement of such patent,

and not a staple article or commodity of commerce suitable for substantial noninfringing use, shall be

liable as a contributory infringer.” See 35 U.S.C. § 271(c). Since the patents-in-suit issued, Microsoft has

also indirectly infringed the asserted ‘731 and ‘633 claims through contributory infringement.

91.    As explained in my report, software components comprising the accused features in Microsoft’s

accused products constitute a material part of the inventions of the asserted ‘731 and ‘633 claims. These

components have also been known by Microsoft to be especially made or especially adapted for use in

infringement of the asserted ‘731 and ‘633 claims, and are not staple articles or commodities of commerce

suitable for substantial noninfringing use. For example, there is no substantial noninfringing use with

respect to the accused spell check, background grammar check and actions functionalities in the accused



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products provided by the components described in this report. Microsoft has provided the accused

products to end-users in the U.S., with knowledge that use of the accused features in accordance with their

design constituted infringement of the asserted ‘731 and ‘633 claims and with knowledge that its software

constituted a material component of the inventions in the asserted ‘731 and ‘633 claims with no

substantial noninfringing use. Thus, it is my opinion that Microsoft has thereby contributed to the

infringement of the asserted ‘731 and ‘633 claims.

B.      The ‘985 Patent


     Patent & Claim No.     Direct Infringement                    Inducing Infringement

     ‘985, claim 1, 6, 37   By Microsoft by using the accused      Microsoft by making and selling
     (method claims)        spell check, grammar check and         the accused products in the United
                            actions features in the accused        States and/or importing the
                            products in the United States with     accused products into the United
                            dictionaries syndicated by Microsoft   States, by designing and promoting
                                                                   such products and by instructing
                            By Customers/end-users of the          customers/end-users how to
                            accused products by using the          engage in their infringing use
                            accused spell check, grammar check     including by providing
                            and actions features in the accused    documentation supporting and/or
                            products in the United States with     encouraging use of the accused
                            dictionaries syndicated by             features with dictionaries
                            Microsoft.                             syndicated by Microsoft.




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            Patent & Claim No.     Direct Infringement              Inducing Infringement

            ‘985 claim 10, 11,     By Microsoft by making,          Microsoft by making and
            16, 41, 44             using, selling and/or            selling the accused products
            (computer program,     offering to sell in the United   in the United States and/or
            computer               States and/or importing          importing them into the
            implemented            into the United States the       United States and by
            system)                accused products that are        designing, advertising and by
                                   capable of using the             promoting such products
                                   accused features with            and instructing
                                   syndicated dictionaries.         customers/end-users how to
                                                                    engage in their infringing use
                                   By Customers/end users of        including by providing
                                   the accused products             documentation supporting
                                   wherein the accused              and/or encouraging use of
                                   features are used with           the accused features with
                                   syndicated dictionaries.         syndicated dictionaries and
                                                                    by syndicating the
                                                                    dictionaries.




92.    Since the patent-in-suit from the second patent family issued on March 2, 2010 (’985 patent),

Microsoft has and continues to practice the asserted computer program and system claims of the ‘985

patent including by making, using, selling, offering to sell in the United States and/or importing into the

United States the accused products with . Under 35 U.S.C. § 271(a), whenever Microsoft practices the

asserted ‘985 claims including via by making, using, selling, offering to sell in the United States and

importing into the United States the accused products, it directly infringes the asserted ‘985 claims. I

further understand that Microsoft practices the asserted ‘985 method claims by using in the United States

the accused features of the accused products with Microsoft syndicated dictionaries for its own needs and

also by its testing of the accused features of the accused products with Microsoft syndicated dictionaries.

Thus, each of these activities with respect to the accused products directly infringes the asserted ‘985

claims, and it is my opinion that Microsoft has thereby directly infringed the asserted ‘985 claims.



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93.      I understand that “whoever actively induces infringement of a patent shall be liable as an

infringer.” See 35 U.S.C. § 271(b). Since the patents-in-suit issued, Microsoft has also indirectly

infringed the asserted method claims of the ‘985 patent through active inducement. Under 35 U.S.C. §

271(a), whenever anyone in the United States uses the accused spell check, grammar check or actions

features of Microsoft’s accused products with Microsoft syndicated dictionaries,, such person directly

infringes one or more of the asserted ‘985 claims. Thus, Microsoft’s customers and end-users of the

accused products directly infringe the asserted ‘985 claims by using the accused features the accused

products with Microsoft syndicated dictionaries.

94.      At least by the date the complaint in this case was filed, Microsoft had knowledge that these acts

constitute infringement of the asserted ‘985 claims. Therefore, Microsoft has induced and continues to

induce infringement of the asserted ‘’985 claims by the accused products.              It is my opinion that

Microsoft’s acts of making, using, selling, offering to sell, and importing the accused products constitute

affirmative steps taken to encourage infringement of the asserted ‘985 claims. For example, Microsoft

purposefully takes actions to induce infringement of the Asserted Claims by advertising and promoting

the accused products in the United States, instructing how to engage in infringing use, designing and

manufacturing (or authorizing the manufacture of) infringing products, and selling infringing products to

customers who ultimately use the accused products in the United States. 1 Microsoft takes these actions to

aid and encourage infringement with the knowledge and intent that the accused products will ultimately

be used in the United States to practice the ‘985 claims. Microsoft also provides customer support to

assist the use of the accused features in the accused products with dictionaries syndicated by Microsoft,

and Microsoft provides documentation supporting and encouraging the infringing use of the accused




1
    For evidence of instructing, advertising and promoting see paragraphs 88 and 89.


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products2. Thus, it is my opinion that Microsoft has thereby actively induces the infringement of the

asserted ‘985 method claims.

95.       I understand that “whoever without authority makes, uses, offers to sell, or sells any patented

invention, within the United States or imports into the United States any patented invention during the

term of the patent therefor, infringes the patent.” See 35 U.S.C. § 271(a). Since the ‘985 patent issued,

Microsoft has and continues to directly infringe the asserted computer program and computer

implemented system of the ‘985 patent by making, using, selling and/or offering to sell in the United

States and/or importing into the United States the accused products wherein the accused features are used

with dictionaries syndicated by Microsoft. Moreover, Microsoft’s customers and end users of the accused

products also directly infringe the computer program and computer implemented system claims when

they utilize the accused features of the accused products with dictionaries syndicated by Microsoft.

Additionally, I understand that Microsoft tests the accused features of the accused products with

dictionaries     syndicated     by    Microsoft          to   ensure   the   software   works     properly.

https://www.linkedin.com/jobs2/view/10229143. (see also MS_SENTIUS008823 at -825.)              Through its

internal use and testing activities with regards to the accused features, Microsoft directly infringes the

computer program and computer implemented system claims. In this regard, I note that Claim 1 and its

dependent claims (including claim 10) are focused on the remote computer that uses the syndicated

dictionary to perform the linking resulting from the “parsing”, “identifying” and “associating” steps. That

the dictionary must first necessarily be made available by Microsoft for automatic download and use by

the remote computer only defines the environment in which the remote computer must operate to perform

the “parsing”, “identifying” and “associating” steps. As the “wherein” clause further confirms, the remote

computer uses the syndicated dictionary to effectuate the linking.     (See Uniloc USA v. Microsoft, CAFC

2011). Since the patents-in-suit issued, Microsoft has also indirectly infringed the asserted computer
2
    Id.

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program and computer implemented claims of the ‘985 patent through active inducement of its customer’s

and end user’s direct infringement by making and selling the accused products in the United States and/or

importing them into the United States and by designing, advertising and by promoting such products and

instructing customers/end-users how to engage in their infringing use including by providing

documentation supporting and/or encouraging use of the accused features with syndicated dictionaries and

by syndicating the dictionaries.

C.       Willful Infringement

96.      Despite the allegations of infringement in this case based on the Asserted Claims of the

‘731/633/985 patents, I understand Microsoft has not stopped making, selling, offering for sale or

importing the accused products, or made changes to their sales, distribution, technical support, customer

service, or testing activities with respect to the accused products nor has provided any legal opinion

justifying its failure to do so.

97.      In my opinion, Microsoft knew or was at least willfully blind that it was infringing the Asserted

Claims. To my knowledge, Microsoft has not provided any credible non-infringement or invalidity

defenses, nor has Microsoft produced any opinion of counsel that would support any belief that any of the

accused products do not infringe the Asserted Claims or that the Asserted Claims are invalid. Given the

strong technical case for infringement as set forth in my report, Microsoft knew or was willfully blind that

when Microsoft’s accused products were used as they were designed and intended to be used would

directly infringe the Asserted Claims. To my knowledge, Microsoft has not had any reasonable basis for

continuing its infringing activities or for any claims of invalidity, non-infringement, or unenforceability.

      VII.   SUMMARY OF THE ASSERTED CLAIMS

A.       ‘731 Patent (Asserted claim 96)




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98.    Of the Asserted Claims of the ‘731 Patent, there is one independent claim (96). This claim reads as

follows:

       Claim 96:

.      A method for linking textual source material to external reference materials for display, the

       method comprising the steps of:

           determining a beginning position address of textual source material stored in an

           electronic database;

           cutting the textual source material into a plurality of discrete pieces;

           determining a starting point address and an ending point address of at least one of the

           plurality of discrete pieces based upon the beginning position address;

           recording in a look up table the starting and ending point addresses;

           linking at least one of the plurality of discrete pieces to at least one of a plurality of

           external reference materials by recording in the look-up table, along with the starting

           and ending point addresses of the at least one of the plurality of discrete pieces, a link to

           the at least one of the plurality of external reference materials, the plurality of external

           reference materials comprising any of textual, audio, video, and picture information;

           displaying an image of the textual source material;

           selecting a discrete portion of the displayed textual source material image;

           determining a display address of the selected discrete portion;

           converting the display address of the selected discrete portion to an offset value from

           the beginning position address;

           comparing the offset value with the starting and ending point addresses recorded in the

           look-up table to identify one of the plurality of discrete pieces;



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          selecting one of the plurality of external reference materials corresponding to the

          identified one of the plurality of discrete pieces;

          retrieving the selected one of the plurality of external reference materials using a

          recorded link to the selected one of the plurality of external reference materials; and

          displaying the retrieved external reference material.

B.     ‘633 Patent (Asserted claims 62, 64, 70, 146, 148, 149, 154 and 164)

99.    Of the Asserted Claims of the ‘633 Patent, there are two independent claims (62 and 146) and six

dependent claims (64, 70, 148, 149, 154 and 164). Those claims read as follows:

       Claim 62:

       A computer-implemented method for linking textual source material to external reference

       materials for display, the method comprising the steps of:

          determining a beginning position address of textual source material stored in an

          electronic database;

          cutting the textual source material into a plurality of discrete pieces;

          determining starting point addresses and ending point addresses of the plurality of

          discrete pieces based upon the beginning position address;

          recording in a look up table the starting and ending point addresses;

          linking the plurality of discrete pieces to external reference materials by recording in the

          look-up table, along with the starting and ending point addresses of the plurality of

          discrete pieces, links to the external reference materials, the external reference materials

          comprising any of textual, audio, video, and picture information;

          selecting a discrete portion of an image of the textual source material;

          determining a display address of the selected discrete portion;



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         converting the display address of the selected discrete portion to an offset value from

         the beginning position address;

         comparing the offset value with the starting and ending point addresses recorded in the

         look-up table to identify one of the plurality of discrete pieces;

         selecting one of the external reference materials corresponding to the identified one of

         the plurality of discrete pieces; and

         displaying on a computer the selected one of the external reference materials.

      Claim 64:

      The method of claim 62, wherein cutting the textual source material into a plurality of

      discrete pieces is done automatically.

      Claim 70:

      The method of claim 62, wherein the link is reference information for retrieving the

      selected one of the external reference materials.

      Claim 146:

      A computer-implemented method for linking textual source material to external reference

      materials for display, the method comprising the steps of:

         determining a beginning position address of textual source material stored in an

         electronic database;

         cutting the textual source material into a plurality of discrete pieces;

         determining a starting point address and an ending point address of at least one of the

         plurality of discrete pieces based upon the beginning position address;

         recording in a look up table the starting and ending point addresses;




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         linking at least one of the plurality of discrete pieces to at least one of a plurality of

         external reference materials by recording in the look-up table, along with the starting

         and ending point addresses of the at least one of the plurality of discrete pieces, a link to

         the at least one of the plurality of external reference materials, the plurality of external

         reference materials comprising any of textual, audio, video, and picture information;

         selecting a discrete portion of an image of the textual source material;

         determining a display address of the selected discrete portion;

         converting the display address of the selected discrete portion to an offset value from

         the beginning position address;

         comparing the offset value with the starting and ending point addresses recorded in the

         look-up table to identify one of the plurality of discrete pieces;

         selecting one of the at least one of the plurality of external reference materials

         corresponding to the identified one of the plurality of discrete pieces; and

         displaying on a computer the selected one of the plurality of external reference

         materials.

      Claim 148:

      The method of claim 146, wherein cutting the textual source material into a plurality of

      discrete pieces is done automatically.

      Claim 149:

      The method of claim 148, wherein automatically cutting the textual source material into a

      plurality of discrete pieces is done using a grammar parser.

      Claim 154:




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        The method of claim 146, wherein the link is reference information for retrieving the

        selected one of the plurality of external reference materials.

        Claim 164:

        The method of claim 146, wherein the plurality of external reference materials comprises a

        plurality of text based external reference materials.

C.      '985 Patent (Asserted claims 1, 6, 10, 11, 16, 37, 41 and 44)

100.    Of the Asserted Claims of the ‘985 Patent, there are two independent claim (1 and 11) and six

dependent claims (6, 10, 16, 37, 41 and 44). Those claims read as follows:

        Claim 1:

        A computer implemented method for processing database content, the method comprising the

steps of:

            syndicating one or more data objects associated with a term database to one or more

            remote computers, wherein the one or more data objects contain data associated with

            one or more terms;

            parsing one or more documents to identify at least one term based on at least one rule;

            identifying content for the at least one term; and

            associating the at least one term with the identified content;

            wherein the one or more data objects associated with the term database provide a

            representation of at least a portion of the term database at the one or more remote

            computers and are used to link the identified content with the at least one term.

        Claim 6:




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      The method of claim 1, wherein the one or more remote computers access data associated

      with the term database for linking to the supplemental content, without a connection to the

      term database.

      Claim 10:

      A computer program of instructions configured to be readable by at least one programmed

      computer processor to execute a computer process for performing the method as recited

      in claim 1.

      Claim 11:

      A computer implemented system for processing database content, the system comprising:

         a term module for parsing one or more documents to identify at least one term based on

         at least one rule;

         a processing module for identifying content for the at least one term; and

         a term database for storing the identified content in association with the at least one

         term;

         wherein one or more data objects associated with the term database are syndicated to

         one or more remote computers for providing a representation of at least a portion of the

         term database at the one or more remote computers and for linking the identified content

         with the at least one term, wherein the one or more data objects contain data associated

         with one or more terms.

      Claim 16:

      The system of claim 11, wherein the one or more remote computers access data associated

      with the term database for linking to the supplemental content, without a connection to the

      term database.



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        Claim 37:

        The method of claim 1, wherein the identified content is displayed on a user interface in

        response to a selection of the at least one term by a user.

        Claim 41:

        The system of claim 11, wherein the identified content is displayed on a user interface in

        response to a selection of the at least one term by a user.

        Claim 44:

        The system of claim 11, wherein the content comprises one or more of text, image, sound,

        video and mixed media.

VIII. MICROSOFT'S ACCUSED PRODUCTS

 101.          The Accused Instrumentalities for the ‘731 and ‘633 patents are the 2013, 2010, and 2007

 versions of Microsoft Word, Outlook, PowerPoint, OneNote, and Publisher for Windows, and the 2011

 versions of Microsoft Word, Outlook, and PowerPoint for Macintosh.

 102.          The Accused Instrumentalities for the ‘985 patent are the 2013 and 2010 versions of

 Microsoft Office for Windows, comprising at least Word, Outlook, PowerPoint, OneNote, and

 Publisher; and the 2011 version of Microsoft Office for Macintosh, comprising at least Word, Outlook,

 and PowerPoint.

 103.          For the ‘731 and ‘633 patents, the accused functionality is the spell check functionality of

 each of the accused products; the grammar check functionality of Word and Outlook in both Windows

 and Macintosh versions, and the “Actions”/”Smart Tags” functionality of Word, Outlook, and

 PowerPoint in Windows versions.




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      From US 5,649,222

      “The first cell 82 indicates that a range of correctly spelled words begins at character
      position 0. Since there are no flags until character position 112, the document is clean in
      the range from character position 0 to 111. The error flag in cell 84 indicates that there is a
      potential spelling error starting with character position 112. The next cell 86 indicates the
      character range starting at position 120 is correctly spelled. The range of correctly spelled
      words continues until position 550, represented in the next cell 88. This cell 88 represents
      the beginning of a range of characters that need to be checked. The final cell 90 indicates
      that the end of the document is at character position 700. Thus, the range from position 550
      to the end of the document remains to be checked in this example.” at Col. 7, Lines 35-49.



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9 the speller to get the suggestions?

10      A.    Yes.

11      Q.     And it's likewise the case that -- just

12 to be clear, the error -- the underlining I was

13 talking about was the red squiggly for the spell

14 check, and for the green squiggly, same generally

15 true, that we'll -- green squiggly, the character

16 position range associated with the grammar check error

17 flag in the grammar check table?

18      A.    Yes, with my same clarification for each

19 CP, that there exists an ferror on the SPLS or the

20 associated -- actually, for grammar it may still be

21 SPLS.

22 It uses a different PLC because there are

23 different PLCs for different proofing tools, but

24 the -- but the logic is the same.

             3. Claim 96c

       “cutting the textual source material into a plurality of discrete pieces;”

127.   Based on my analysis, I conclude that claim 96c is literally infringed via each of Sentius’ Accused

Instrumentalities having the accused spell check, grammar check or actions features.

128.   As supported below, in the accused products, once the document/file has been loaded into

memory, each of the accused functionalities cuts the textual content of the document/file into discrete

pieces that identify sections of the textual content of interest to that functionality. In Word, the spell check



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functionality identifies sections of the textual content that contain correctly spelled regions and incorrectly

spelled words. Likewise, the grammar check functionality identifies the grammatically correct sections of

the textual content as well as sections that contain incorrect or questionable grammar. I find this claim

element to be literally met by parsing the document into sections including into discrete words and

phrases that may contain spelling or grammar errors or action words or phrases.

               a. Evidence from Source Code

Word 2013 – Spelling




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17      Q. In generating that table?

18      A. Yes.

19      Q. And is it, on a general overview basis, correct

20     to say that background spell check will loop through in

21     the idle time the sentences in a document and pass those

22     sentences to a grammar checker, which will then return

23     an error state if there's a grammatical error in that

24     sentence?

25      A. I think -- yes. I think that's a good general

                   15

1      description.

           4. Claim 96d

       “determining a starting point address and an ending point address of at least one of the plurality of

       discrete pieces based upon the beginning position address;”

153.   Based on my analysis, I conclude that claim 96d is literally infringed via each of Sentius’ Accused

Instrumentalities having the accused spell check, grammar check or actions features.

154.   As supported herein, in the accused products, each of the accused functionalities determines the

starting and ending point addresses of the textual content of interest. These starting and ending addresses

are based upon the beginning position address and can be used to look-up the data comprising the

corresponding words or phrases in memory.           For example, in Word the spell check functionality

determines a CP = X starting position and CP = Y ending position for each correctly spelled region and

misspelled word. Likewise, the grammar check functionality determines a CP = X starting position and

CP = Y ending position for each grammatically correct region and each region containing grammatical



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errors. Likewise, the actions functionality determines a CP=X starting position and CP=Y ending postion

for each word associated with actions.

              a. Evidence from Source Code

Word 2013 – Spelling




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6      positions of the erroneous sentence?

7       A. Yes. I think that's a good description.

8       Q. And is it -- okay. When -- is it also fair to

9      say that that error flag will indicate, A, the range of

10     character positions where there's an error and also

11     where it should be green squigglied?

12             MR. LAMBERSON: Object to form.

13             You can still answer if you can.

14             THE WITNESS: Oh.

15             Yes, in general. The character range would

16     represent that there is an error and that it should be

17     displayed in a way to indicate that there's an error.

            5. Claim 96e

        “recording in a look-up table the starting and ending point addresses;”

181.    Based on my analysis, I conclude that claim 96e is is literally infringed via each of Sentius’

Accused Instrumentalities having the accused spell check, grammar check or actions features or

alternatively is met under the doctrine of equivalents. ..

182.    As supported herein, in the accused products, each of the accused functionalities stores in a

respective look-up table the starting point and ending addresses of words or phrases of interest such as

misspelled words, grammatically incorrects words or phrases, or actions words. In Word, the spell check

and grammar check functionalities store starting and ending point addresses in PLC structures. Likewise

the actions functionality records the starting and ending positions of actions words in the actions look-up

table. The PLC structures (or other data structures set forth below) are data structures that are used to



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look-up spell check, grammar check and action information in response to user inputs and literally meet

this limitation.

183.    Alternatively, if any of the accused spell check, grammar check or actions data structures are not

literally considered to meet this claimed limitation then they are equivalents thereof in that they have the

substantially the same function to provide substantially the same result and in substantially the same way

as the claimed look-up table in as much as they are used to record the relative offset positions of the terms

or phrases of interest in a data structure that is subsequently used to look up linking information.

                   a. Evidence from Source Code

Word 2013 – Spelling




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1        Q. Again, whether it's the full sentence or less

2      than the sentence, it will -- the green squiggly will

3      correspond to the character position range in the table

4      for the error flag, for that error flag?

5         A. Yes. I believe that's right.



            6. Claim 96f – “a link to the at least one of the plurality of external reference materials,”

        “[L]inking at least one of the plurality of discrete pieces to at least one of a plurality of external

        reference materials by recording in the look-up table, along with the starting and ending point

        addresses of the at least one of the plurality of discrete pieces, a link to the at least one of the

        plurality of external reference materials, the plurality of external reference materials comprising

        any of textual, audio, video, and picture information;”

Claim Construction Meaning

        “pointers to data or information or the location of data or information that is external to the source

        material”

213.    I understand that the Court has also recently ruled that a link can be “reference information” as

that term is used in its ordinary meaning.

214.    Based on my analysis, I conclude that claim 96f is is literally infringed via each of Sentius’

Accused Instrumentalities having the accused spell check, grammar check or actions features or

alternatively is met under the doctrine of equivalaents.

215.    As supported herein, in the accused products, in addition to storing the starting and ending

addresses in the respective table, each of the accused functionalities also records a link in its respective

look-up table to at least one external reference material. For Word, the spell check look-up table contains



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an SPLS structure that, in turn, contains reference information (an fError flag corresponding to a given CP

index in the spell check table) that is a pointer or link to the spell check dictionary that contains the

properly spelled words to display as well as to the misspelled word that is used to query the spell check

dictionary to retrieve the properly spelled words for that misspelled word.        Likewise, for Word, the

grammar check look-up table contains an SPLS structure that, in turn, contains reference information (an

fError flag corresponding to a given CP index in the grammar check table) that is a pointer or link both to

the grammar check dictionary that contains the grammatically correct words or phrases to display as well

as to the grammatically incorrect word or phrase itself, which is used to query the grammar check

dictionary to retrieve the grammiatically correct words or phrases for display for that grammatically

incorrect word or phrase. Similarly, the actions look-up table is the BMDS look-up table that contains an

STTB string table storing reference information (namely a pointer to a factoid property bag

FACTOIDINFO corresponding to a given CP index) that points both to the actions dictionary containing

external material for display related to the actions word as well as to the action word itself, which is used

to query the actions dictionary to rretieve the external material for display for that action word.

Accordingly, I find that the claim element is literally met as a link need not be an address, can be

reference information, and may be an indirect pointer. This element would also be met under the doctrine

of equivalents however because the reference information           I’ve described above acts to link the

misspelled, actions word or grammatically incorrect word or phrase precisely to the respective

information for display for that misspelled word, actions word or grammaticall incorrect word or phrase

as shown by the fact that the same information from a given dictionary will be displayed each time for

that given word or phrase.

216.   More particularly, the respective fError:: CP Index field pointers stored in the SPLS structures for

given entries in the spell check and grammar check tables refer the Word program to the appropriate .dll



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and .lex file to retrieve reference information for those entries from the corresponding spell check and

grammar check dictionaries.

217.   If the SPLS structures in the spell check and grammar check look-up tables are not found to

literally comprise “links,” they are nonetheless the equivalents of “links” because they refer the Word

program to invoke the appropriate .dll and .lex files and to pass the selected word or phrase to the invoked

.dll and .lex files to retrieve the responsive content to be displayed.

218.   For Word Actions/Factoids, the actions BMDS (“bookmark data structure”) contains an STTB

“string table” storing “FACTOIDINFO” structures with pointers to factoid property bags. The factoid

property bag pointer stored in the FACTOIDINFO structure contains the address of reference information

for a given factoid/action and is used to retrieve that information for display to the user and control of

further actions by the user.

219.   The 731 and 633 patents describe the process of linking to external reference material, recording

and using links in a look-up table (LUT) or array, 202. As described in exemplary Figure 2 of these

Sentius patents, when a location of (100, 75) is selected in a document display, the corresponding offset is

computed to be 25. This offset of 25 is then used to identify a suitable range of offsets in the look-up

table 202 that includes the offset of 25. As identified in the LUT (look-up table) 202, the correct range is

between offsets of 20 through 27. The example of the link corresponding to this row of the look-up table

is “200”, which indicates that an “index” or “key” of value 200 should be directly or indirectly used to

resolve an external reference source (of type “text”, not “picture” or “sound”) to obtain the appropriate

“value” in return.




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220.   An example from Microsoft’s ‘222 patent that indicates how the accused products carry out the

functionality of linking and resolving an external reference using this recorded link from a look-up table

(LUT) that is constructed as a dynamic array.




221.   In the example of “This cannt be bad.”, Microsoft Word carries out a number of steps to

construct a look-up table as will be shown.

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226.   As noted in the figure, the discrete region “This ” is correct and corresponds to a CP range of 0-5,

while the discrete region “cannt” is stored in a CP range of 5-10. The three discrete pieces - “This ”,

“cannt”, and “ be bad .” are indexed by a CP Indices of 0, 1, and 2, respectively. In addition to these

positions of the CP ranges that are recorded in the look-up table, there is one link corresponding to the

incorrect piece (“cannt”) of the sentence that is used in retrieving the linked external reference material

from a dictionary. The indexed link corresponding to the incorrect word “cannt” is described below

corresponding to the index 1, and consists of the associated indexed fError(CP Index = 1).

227.   I will describe next how this link is used to retrieve the external reference materials. Once the

dynamic array has been created and the link has been recorded:

228.




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234.




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Word Actions

247.




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255.   The link in the accused actions/factoids functionality in the accused products is in the form of a

pointer which stores the address of a factoid property bag containing information about each linked

factoid. This pointer is used to retrieve the external reference material corresponding to an identified

action/factoid selected in response to a user click.

               a. Evidence from Source Code

Word 2013 – Spelling

256.




                                                -170-
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                       18

7      Q.        And when the user now has -- okay, so

8 we've red squigglied where the character position --

9 the characters associated with the error flag

10 condition, and when the user right clicks on that, is

11 it correct that the right click location on the screen

12 will be converted to a character position in the

13 document and then we would look in the spell check

14 P -- PLC table to see whether the right click was at a

15 character position corresponding to the error flag

16 condition?

17          A.     Yes. The character position that we --

18 that we determine from the right click will be used to

19 identify which CP in the array of CPs and which

20 associated SPLS should be -- should be associated with

21 that CP, and we'll refer to the properties within that

22 SPLS to determine whether it's clean or dirty or an

23 error.

                 12. Claim 96l

“selecting one of the plurality of external reference materials corresponding to the identified one of the

plurality of discrete pieces;”

325.    Based on my analysis, I conclude that claim 96l is infringed by Microsoft via each of the Accused

Instrumentalities.



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326.   In the accused products, Word, if the selected section corresponds to a misspelled word as

indicated by the fError:: CP Index field pointer of the SPLS structure for that entry in the spell check

look-up table, the spell check functionality accesses the contents of the corresponding spell check

dictionary to build in memory a list of spelling suggestions as potential replacements for the misspelled

word. If the selected section corresponds to a set of grammatically incorrect words or to a grammatically

incorrect phrase as indicated by the fError:: CP Index field pointer of the SPLS structure for that entry in

the grammar check look-up table, the grammar check functionality accesses the contents of the

corresponding grammar check dictionary to build a list in memory of suggested grammatical corrections

therefore.

                a. Evidence from Source Code

Word 2013 – Spelling

327.




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           13. Claim 96m

“retrieving the selected one of the plurality of external reference materials using a recorded link to the

selected one of the plurality of external reference materials; and”

351.   Based on my analysis, I conclude that claim 96m is literally infringed via each of the Accused

Instrumentalities having the accused spell check, grammar check or actions features.

352.   In the accused products, the spell check functionality retrieves from the corresponding spell check

dictionary spelling suggestions for a given misspelled word from the spell check dictionary into memory

and then displays the spelling suggestions adjacent to the misspelled word so the user can select one for

the accused product to use to replace the misspelled word in the document. In particular, when a user

indicates a portion of the displayed document such as by right- clicking over the misspelled word, the

system determines the corresponding display coordinates where the user clicks and converts those into a

character position. It then looks up that character position in the spell check table. If the character

postion falls within the range of character positions that have an associated recorded fError flag (i.e.,

where the CP Index records the location), the system retrieves the corresponding misspelled word (and its

language) and uses it to retrieve the spelling corrections for display from the spell check dictionary for

that language.

353.   Likewise, the grammar check functionality retrieves from the corresponding grammar check

dictionary suggested grammatical corrections for a given word or phrase into memory and then displays

the list adjacent to the grammatically incorrect words or phrase so the user can select one for the accused

product to use to replace the grammatically incorrect words or phrase in the document. In particular, when

a user indicates a portion of displayed document such as by right-clicking over a grammatically incorrect

word or phrase, the system determines the corresponding display coordinates where the user clicked and

converts those to a character position. It then looks up that character position in the grammar check table.



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If the character postion falls within the range of character positions that have an associated fError flag

(i.e., where the CP Index records the location), the system retrieves the corresponding grammatically

incorrect word or phrase (and its language) and uses it as a query to retrieve the grammar corrections for

display from the grammar check dictionary for that language.

354.   Similarly, the actions functionality retrieves content for a corresponding actions dictionary for a

given action word and then displays it to the user. In particular, when a user indicates a portion of

disiplayed document such as by right-clicking over an actions word, the system selects the corresponding

display coordinates to convert to a character position. It then looks up that character position in the

actions table. If the character postion falls within the range of character positions for an actions word (i.e.

where the CP index records the location), the system uses the associated link (pointer to factoid property

bag) to retrieve for display the corresponding external content for that actions word.



               a. Evidence from Source Code

Word 2013 – Spelling

355.




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because it would not be practical to display the locations of actions words in the context of the document

in combination with action choices without the background processing for the same reasons above as with

background spell checker/grammar checker. Because it also not practical for Microsoft to implement

actions using metadata tags in the document for the reasons explained above, the best non-infringing

alternative to smart tags would be to remove smart tags.

           B. Automatic Dictionary Updates (‘985 Patent)

184.   Before the introduction of the accused “Automatic Update” feature in Microsoft Word and the

other accused products, there existed no feature within Microsoft Word that would allow the remote

computer running the accused product to subscribe to syndicated dictionaries such that it could

automatically download the syndicated dictionaries. It is my opinion that absent the use of the claimed

technology there is no acceptable alternative because without the accused “Automatic Update” feature

Microsoft cannot syndicate dictionaries nor could remote computers download updates automatically.

185.   The best non-infringing alternative for automatic dictionary updates would be to offer non-

syndicated dictionaries requiring manual download.



I confirm that the contents of this report are true to the extent that it contains facts and that it contains my

honest opinions and beliefs on the matters I have been asked to opine on.




______________________                            __________________________

Date                                                    Vijay K. Madisetti, PhD




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